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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. CV 16-5764 MRW Date Septembe1‘29, 2016

 

Title Evelyn M. Mcleod v. National Credit Control Agency

 

Present: The Honorable Michael R. Wilner

 

 

Veronica Piper None
Deputy Clerk Couit Smart / Reporter
Attomeys Present for Plaintiff: Attorneys Present for Defendant:
None Present None Present
Proceedings: (IN CHAMBERS) ORDER RE: NOTICE OF DISMISSAL

Plaintiff filed a notice of Voluntaiy dismissal in this case. (Docket # 10.) This action is dismissed
in its entirety.

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